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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


  In re Application of

  RICHARD RANDALL GREEN,

                 Applicant,

                            v.                        Civil Action No.18-mc-00030 (BAH)

  For an Order Pursuant to 28 U.S.C. § 1782
  Granting Leave to Obtain Discovery From the
  EXPORT-IMPORT BANK OF THE UNITED
  STATES For Use In Foreign Proceedings



                 CONSENT MOTION FOR ENLARGEMENT
 OF TIME TO FILE OPPOSITION TO APPLICATION FOR JUDICIAL ASSISTANCE


       The Export-Import Bank of the United States (“Ex Im Bank”), by counsel, and with

consent of the applicant, moves for a two week enlargement of time to file its opposition to

application for judicial assistance. This motion is merited for the following reasons:

           1. Applicant and Ex Im Bank continue negotiating a possible resolution of this

               matter, and, on May 4, 2018, Ex Im Bank plans to provide documents to

               Applicant.

           2. Ex Im Bank’s opposition to application for judicial assistance is due on May 7,

               2018.

           3. Two additional weeks will allow sufficient time to determine whether this matter

               can be resolved and for Ex Im Bank to focus on relevant areas in its opposition if

               briefing proves necessary.
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       Wherefore, Export-Import Bank, by counsel, and with applicant’s consent, moves for a

two week enlargement of time to May 21, 2018 to file its opposition to application for judicial

assistance, and further moves that applicant’s reply now be due on May 28, 2018.

                                             Respectfully submitted,

                                             JESSIE K. LIU, D.C. BAR # 472845
                                             United States Attorney
                                             for the District of Columbia

                                             DANIEL F. VAN HORN, D.C. Bar #924092
                                             Civil Chief

                                             By: /s/ Alexander D. Shoaibi____________
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                                              ORDER

       Upon consideration of the Export Import Bank’s consent motion for a two week

enlargement of time to file its opposition to application for judicial assistance, it is hereby ordered

that the motion is granted and that the opposition to application for judicial assistance is now due

on May 21, 2018, and that the reply to the opposition is now due on May 28, 2018.



                                               _____________________________________
                                               U.S. District Judge
